    Case 2:05-cv-04182-SRD-JCW Document 7904-1 Filed 09/25/07 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE KATRINA CANAL BREACHES                                                       CIVIL ACTION
CONSOLIDATED LITIGATION
                                                                                       NO. 05-4182

PERTAINS TO: ALL CASES                                                           SECTION "K"(2)
Publish to Web

                            CASE MANAGEMENT ORDER NO. 3

       As the filing in this consolidated case continues to grow and new cases are added each

day, the Court has determined that the following Case Management Order No. 3 shall be

disseminated to all counsel of record to remind them of certain procedures that must be followed

in this case and to help inform new counsel as they become involved. Accordingly,

       IT IS ORDERED that the following information shall be served on all counsel of record

in this matter and this notice shall be attached to the notification of consolidation issued by the

Clerk of Court.



WEB SITE IS ESTABLISHED

       A website has been established at www.laed.uscourts.gov under the rubric "Canal

Breaches" for quick and easy reference for information pertaining to this litigation. Answers to

frequently asked questions can be found in the FAQ section.

       You must comply with all standing orders found therein. Please review Case

Management Order No. 1 (Doc. 790) and Case Management Order No. 2 (Doc. 1403) in the

Organizational Orders section of the website for pertinent information including the proper
    Case 2:05-cv-04182-SRD-JCW Document 7904-1 Filed 09/25/07 Page 2 of 3




method to style pleadings filed in this matter after consolidation. THESE REQUIREMENTS

PERTAIN TO ALL CONSOLIDATED CASES UNDER THIS UMBRELLA.



QUESTIONS CONCERNING THIS LITIGATION

       If you have particular questions concerning your case, you should not contact the

Clerk's Office or Judge Duval's Chambers by phone. You should first ask the appropriate

Liaison Counsel whose numbers can be found in the "Contacts" section of this website. If you

still have problems, you may fax your question to Carol Godbold in the Judge's Chambers at

504.589.2393. You should only do this as a last resort. Responses will be hand-written on your

letter and faxed back to you as soon as possible.



LETTER TO LIAISON COUNSEL

        To assist the Defendant Liaison Counsel in maintaining an accurate list of all defense

counsel, counsel for defendants are hereby ordered to send via U.S. Mail or facsimile a letter to

the Defendant Liaison Counsel, Ralph S. Hubbard III, outlining their contact information,

including e-mail address, telephone number, the party(ies) they represent, and the case(s) in

which they are involved. Mr. Hubbard’s address and fax number are posted on the Court’s

website for your convenience.



RE QUESTS FOR ORAL ARGUMENT

Counsel are reminded that L.R. 78E provides with respect to requests for oral argument:

       LR78.1E Motion Days


                                                    2
    Case 2:05-cv-04182-SRD-JCW Document 7904-1 Filed 09/25/07 Page 3 of 3




       Any party desiring oral argument must either file contemporaneously with the
       filing of the motion or opposition memorandum to a motion or within three days
       after receipt of the opposition memorandum to a motion, a separate written
       request for oral argument. Oral argument will be permitted in such cases
       without further order of the Court, unless the Court advises the parties, as
       soon as practicable, that oral argument is not necessary. [Amended October 1,
       2003]
This rule means that any request SHOULD NOT HAVE AN ORDER PAGE; a pleading styled

"Request for Oral Argument" is all that is required, and the Court will issue a separate order on

its own should it determine that oral argument is not needed. Filing a "Motion for Oral

Argument" or a "Request for Oral Argument" as an ex parte motion with accompanying order

may delay the filing of your motion.




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